Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 3 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 5 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 7 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 11 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 12 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 13 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 14 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 16 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 19 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 23 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 24 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 25 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 26 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 27 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 28 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 29 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 30 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 31 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 32 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 33 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 34 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 35 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 36 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 37 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 38 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 39 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 40 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 41 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 45 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 47 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 48 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 49 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 50 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 53 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 54 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 55 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 56 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 57 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 58 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
                     Exhibit C to Complaint Page 60 of 71
Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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Case 06-00002-TLM   Doc 707-2 Filed 01/02/08 Entered 01/02/08 14:18:23   Desc
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